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                            UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY
                                VICINAGE OF TRENTON


 SUSANNE LAFRANKIE-PRINCIPATO,                     Hon. Freda L. Wolfson, U.S.D.J.
                                                   Hon. Zahid N. Quaraishi, U.S.M.J.
         Plaintiff,
                                                                 Civil Action No.
       v.                                                   3:18-cv-02258-FLW-ZNQ

 NEW JERSEY BOARD OF PUBLIC                          STATEMENT OF UNDISPUTED
 UTILITIES; STATE OF NEW JERSEY; and                MATERIAL FACTS IN SUPPORT OF
 JOHN DOES 1-5 AND 6-10,                              DEFENDANTS’ MOTION FOR
                                                        SUMMARY JUDGMENT
         Defendants.


       Defendants, State of New Jersey (“SONJ”) and the New Jersey Board of Public Utilities

“BPU”) submit this Statement of Uncontested Material Facts (“SOUMF”) in support of its Motion

for Summary Judgment. The references are: “Gilchrist Cert.” refers to the Certification of Daveon




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M. Gilchrist; “Reinert Cert.” refers to the Certification of John Reinert; and “Covie Cert.” refers

to the Certification of Cynthia Covie.

        1.       Plaintiff Susanne LaFrankie-Principato, was hired as a Public Information officer

with the Division of Communications on June 25, 2016. (See Gilchrist Cert., Ex. A; Covie Cert.,

¶3); Reinert Cert., ¶2.)

        2.       Plaintiff was terminated on September 15, 2017, after concerns regarding her work

performance, referencing the lack of attention to detail in her press releases, false timesheet entries,

and overall lack of trust in her abilities to meet the expectations of the position. (See ; Covie Cert.,

¶36); Reinert Cert., ¶19.)

        3.       Plaintiff then filed a Complaint in Superior Court of New Jersey –Mercer Vicinage

on January 5, 2018 alleging the following:

             •   Count I: Interference Under the New Jersey Family Leave Act (“FLA);

             •   Count II: Interference Under the federal Family and Medical Leave Act (“FMLA”);

                 and

             •   Count III: Request for Equitable Relief. (See Gilchrist Cert., Ex. A).

Plaintiff Did Not Demonstrate The Skill, Attention to Detail, and Quality of Work Necessary
to Serve as a Public Information Officer:

        4.       New Jersey Civil Service Commission explicitly certified the duties to be

performed by the position of Public Information Officer on June 20, 2016. (See Covie Cert., ¶12;

Reinert Cert., ¶10).

        5.       The PIO “prepares correspondence related to public information matters and takes

proactive measures to arouse the interest and secure the cooperation of civil business professional

and other groups interested in the programs of the BPU.” (See Covie Cert., ¶13; Reinert Cert.,

¶11).

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        6.     The PIO also on behalf of the BPU “arranges press, radio, television and magazine

interviews and photographing of special events.” (See Covie Cert., ¶14; Reinert Cert., ¶12).

        7.     Plaintiff has a Masters of Arts in Business/ Professional Communication from La

Salle University, but much of her professional experience has been in the form of an “on air

personality or correspondent.” (See Covie Cert., ¶15; Reinert Cert., ¶13).

        8.     Prior to her employment with BPU, Plaintiff worked as a General Assignment

Reporter for local news station from 1987-1998, Nightly News Correspondent for news network

from 2014-2015, and beginning in 2003 right until assuming the position with BPU she worked as

an Adjunct Professor as well as a Communication Consultant. (See Covie Cert., ¶16; Reinert Cert.,

¶14).

        9.     Plaintiff’s work performance did not meet the expectations of the BPU. It was

repeatedly reported that Plaintiff’s work product often displayed poor attention to detail, and often

the press releases she produced did not display a thorough, professional, and coherent viewpoint.

The dissatisfaction was expressed on numerous occasions, through in-person conversations and

emails. While John “Greg” Reinert, Director of the Communications Division, was on vacation

twice during the summer of 2017, Cynthia Covie, Chief of Staff, detailed these issues in the

“Communication Division Issues” memo. (See Gilchrist Cert., Ex. B at 14:14-25; Gilchrist Cert.,

Ex. C at 20:17-20; Covie Cert., ¶17; Reinert Cert., ¶16).

        10.    Furthermore, there were concerns regarding Plaintiff adhering to the “sign-in”

procedures set forth in the office. Plaintiff was observed entering false timesheets. She would

often indicate an earlier arrival time than the actual time she reported to work. Richard DeRose,

Deputy Chief of Staff, personally observed Plaintiff’s false reporting and reported it to the Chief

of Staff. (See Gilchrist Cert., Ex. B at 16:6-10; Covie Cert., ¶17; Reinert Cert., ¶¶16-17).



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       11.     This false reporting continued and became such a source of tension that Ms. Covie

chose to call a mandatory meeting with the entire Communications Division to explain the

importance of following proper and truthful time reporting policy. They maintained that the policy

not only had internal consequences, but personnel ramifications as it could be considered “theft of

time.” (See Gilchrist Cert., Ex. B at 15:6-18; Covie Cert., ¶19; Reinert Cert., ¶16).)

       12.     The BPU staff verified their concerns regarding Plaintiff’s timesheet entries as they

retrieved the access data that coordinates with Plaintiff’s access card and through the period

January 2017-April 2017, there were several entries that contradict the time entries submitted by

Plaintiff. (See Gilchrist Cert., Ex. B at 16:11-21; Covie Cert., ¶20)

       13.     After a qualified candidate was identified for this position, President Richard Mroz,

Mr. Reinert, and Ms. Covie made the decision to terminate or separate Plaintiff from her

unclassified employment. (See Gilchrist Cert., Ex. B at 55:18-21; 58:11-16; Gilchrist Cert., Ex. C

at 35:12-15; Covie Cert., ¶21; Reinert Cert., ¶18).

       14.     The decision to separate Plaintiff from her unclassified employment was based

solely upon the assessment “that it would be a good thing for [the] division in order to properly

carry out the duties of [the] division, and [we] would welcome the opportunity to no longer work

with somebody who was not functioning well and presented a host of problems.” (See Gilchrist

Cert., Ex. B at 29:6-25; 30:1-12; 59:6-11; Gilchrist Cert., Ex. C at 37:4-9; 38:2-7; Covie Cert.,

¶22; Reinert Cert., ¶19).

Prior To Plaintiff’s Request for Leave under the Family Medical Leave Act, The PBU
Decided to Separate Plaintiff And Hire A New Public Information Officer:
       15.     The PBU received a recommendation by the Governor’s Office for Mr. Peter

Peretzman to join the Division of Communications in early 2017, with the understanding that he




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was highly regarded because of his prior experience working for the New Jersey Business &

Industry Association. (See Gilchrist Cert., Ex. B at 54:3-23; Covie Cert., ¶23; Reinert Cert., ¶21).

       16.     Initially, the division considered Mr. Peretzman for the vacant position of

confidential assistant. Mr. Peretzman declined the offer. (See Gilchrist Cert., Ex. B at 55:5-13;

Covie Cert., ¶24; Reinert Cert., ¶21).


       17.     However, the Division remained interested in having Mr. Peretzman as a member

of the staff. Thereafter, during the summer of 2017, President Mroz, Mr. Reinert, and Ms. Covie

discussed the option of considering Mr. Peretzman for the position of PIO. (See Gilchrist Cert.,

Ex. B at 55:18-24; Gilchrist Cert., Ex. C at 35:9-15; Covie Cert., ¶25; Reinert Cert., ¶22).

       18.     The decision was made to offer the position of PIO to Mr. Peretzman, and on

Friday, September 8, 2017, he accepted the position. In turn, the Governor’s Office granted

permission of the hire and the Civil Service Commission began to process the application. (See

Gilchrist Cert., Ex. B at 56:20-24; Covie Cert., ¶26; Reinert Cert., ¶23).

       19.     Mr. Peretzman was approved by the Civil Service Commission and hired as a

Public Information officer at BPU on Tuesday, September 12, 2007. (See Gilchrist Cert., Ex. B at

57:2-13; Covie Cert., ¶27; Reinert Cert., ¶24).

       20.     The apparent last incident that spurned the decision to terminate Plaintiff, occurred

on Tuesday, September 12, 2017, at a BPU public event, one of the BPU Commissioners, Joseph

Fiordaliso, complained to Mr. Reinart about a press release written by Plaintiff. Commissioner

Fiordaliso was also unhappy that his aide and Mr. Reinert had to expend considerable effort, at the

event, to re-do Plaintiff’s work. Commissioner Fiordaliso asked for assurances that this would not

happen again. (See Gilchrist Cert., Ex. B at 38:20-25; 78:3-12; Gilchrist Cert., Ex. C at 38:2-17;

Covie Cert., ¶28; Reinert Cert., ¶16).

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       21.     Accordingly, there were several BPU members who knew of Plaintiff’s impending

separation: The BPU members who were advised of the decision included but not limited to

President Mroz, Commissioner Fiordaliso. Mr. Reinert, Mr. DeRose, Ms. Covie, Director of

Administration Fehmi Malik and Human Resources representative Raquel Washington. (See

Gilchrist Cert., Ex. C at 42:22-25; Covie Cert., ¶28; Reinert Cert., ¶31).

The Decision to Terminate Plaintiff Was Not Related to Any Attempt by the Plaintiff to
Exercise Her Rights Under the FMLA and/or FLA:

       22.     Defendants had a cordial working relationship with Plaintiff and allowed her

accommodations throughout her tenure to care for her son. Plaintiff described the condition as

only migraines and only requiring that she adjust her schedule to allow time to be home when

arrived from school. (See Gilchrist Cert., Ex. D at 26:10-13; 31:13-21).

       23.     Plaintiff admits that not until 2017, did she mention anything to her supervisor

again concerning the health condition of her son. (See Gilchrist Cert., Ex. D at 36:11-24).

       24.     Plaintiff had several friendly working relationships with her peers and they

discussed her family life well before her attempt to file FMLA/NJFLA leave. (See Gilchrist

Cert., Ex. D at 35:1-8; 16-23; 82:13-20; 83:10-19).

       25.     The only example of animus citing in Plaintiff’s testimony is the meeting held by

Ms. Covie advising the Division of proper sign-in policy and the importance of following

procedure. (See Gilchrist Cert., Ex. D at 97:9-25).

       26.     In fact, Plaintiff testimony shows that she held animus towards Ms. Covie,

characterizing her in a number of unpleasant terms. (See Gilchrist Cert., Ex. D at 97:1-3; 98:13-

17).




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       27.     Plaintiff did not inquire about the FMLA process until on or about September 5,

2017 when she emailed the Human Resources department requesting the FMLA/NJFLA form.

(See Gilchrist Cert., Ex. D at 27:7-14; 28:1-20).

       28.     Plaintiff admits that upon obtaining the FMLA application on September 5, 2017

did not indicated that she planned to file leave at that time, it was not until her son was admitted

to the emergency room on September 12, 2017 did she decided that she needed to take leave for

her son. (See Gilchrist Cert., Ex. D at 24:6-9).

       29.     Plaintiff testified that she never discussed Plaintiff’s son’s condition while she

worked at BPU with Ms. Covie. (See Gilchrist Cert., Ex. D at 43:8-12).

       30.     Plaintiff testified that she had no knowledge that Mr. Reinert, her supervisor, was

even apprised of her application for FMLA/NJFLA, she merely speculated that he knew. (See

Gilchrist Cert., Ex. D at 52:5-12).

       31.     Plaintiff testified that she on a number of occasions spread the notion of

retaliation by Defendants to several of her former colleagues. (See Gilchrist Cert., Ex. D at

80:21-25: 81:1-11; 86:22-25; 87:1-5; -13; 31:13-21).

       32.     On September 14, 2017, Plaintiff planned to work only up until 11:00 am. (See

Gilchrist Cert., Ex. D at 41:1-9; Covie Cert., ¶30.

       33.     On that same day, Ms. Raquel Washington informed Ms. Covie that Plaintiff

submitted a FMLA application, but did not indicate when such leave would begin. (See, Covie

Cert., ¶33.)

       34.     At approximately 9:45am, Ms. Covie instructed her assistant to inform Plaintiff

that she is to meet with Mr. Reinert and herself before leaving for the day, however Plaintiff left




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the office without meeting. (See Gilchrist Cert., Ex. C at 46:24-35; 47:1-8; Covie Cert., ¶32;

Reinert Cert., ¶27).

        35.    That meeting, Mr. Reinhart and Ms. Covie planned to sit down with Plaintiff and

inform her that she would be terminated. (See Covie Cert., ¶31; Reinert Cert., ¶28).

        36.    Unsure, when Plaintiff would return, Mr. Reinhart prepared “talking points” for

Plaintiff’s termination, which I reviewed. We determined that we would call Plaintiff the next

day and advise her of the BPU’s decision to terminate her employment. (See Gilchrist Cert., Ex.

C at 43:9-21; Covie Cert., ¶34; Reinert Cert., ¶29).

        37.    However, the following day, Plaintiff did report to work. At that time, she

emailed Ms. Washington that she would start her FLMA leave on or about September 18, 2017.

(See Gilchrist Cert., Ex. C at 43:9-21; Covie Cert., ¶35; Reinert Cert., ¶30).

        38.    At or around 9:15 am, Plaintiff attended the meeting with Mr. Reinert, Ms.

Washington, Fehmi Malik, Director of the Division of Administration and Ms. Covie where she

was advised that her employment would be terminated. Plaintiff was informed of the reasons for

her termination, referencing the lack of attention to detail in her press releases, false timesheet

entries, and overall lack of trust in her abilities to meet the expectations of the position. (See

Gilchrist Cert., Ex. C at 42:22-25; Gilchrist Cert., Ex. D at 45:2-25; 46:1-16; Covie Cert., ¶36;

Reinert Cert., ¶31).

        39.    There was no mention of Plaintiff’s decision to apply for FLMA, other than it

would not be processed in light of the termination. (See Gilchrist Cert., Ex. C at 43:1-5; Covie

Cert., ¶37).



                                               GURBIR S. GREWAL
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                             By:   /s/Daveon M. Gilchrist_______________
                                   Daveon M. Gilchrist
                                   Deputy Attorney General




DATED: July 29, 2019




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